

People v Streeter (2023 NY Slip Op 00619)





People v Streeter


2023 NY Slip Op 00619


Decided on February 3, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 3, 2023

PRESENT: SMITH, J.P., PERADOTTO, LINDLEY, BANNISTER, AND MONTOUR, JJ. (Filed Feb. 3, 2023.) 


MOTION NO. (1053/18) KA 16-01786.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vJARVIS STREETER, ALSO KNOWN AS KITTY, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








